Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Pagel of 7

 

 

 

SVS Holdings, Inc.

BL(Official Form 1/4/10) .
United States Bankruptcy Court wae
District of Colorado Voluntary Petition
Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):

 

Alf Other Names used by the Debtor in the fast 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc, Sec. or Individual-Taxpayer 1.D, (ITIN) No./Complete EIN

(if more than one, state all)

Last four digits of Soc. Sec, or Individual-Taxpayer I.D. (ITIN) No./Complete EIN

B(if more than one, state all)

 

 

 

 

 

 

C1 Individual (includes Joint Debtors)

See Exhibit D on page 2 of this form.
Wi Corporation (includes LLC and LLP)
1) Partnership

0 Other (If debtor is not one of the above entities,
check this box and state type of entity below.)

in 11 ULS.C. § 101 (51B)
Oi Railroad
(J Stockbroker
(O Comniodity Broker
(C1 Clearing Bank
HB Other

Tax-Exempt Entity
(Check box, if applicable)

 

D Debtor is a tax-exempt organization
under Title 26 of the United States
Code (the Internal Revenue Code).

XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Street, City, and State):
717 17th St, Suite 310
Denver, CO
ZIP Code ZIP Code
80202 . .
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Denver
Mailing Address of Debtor (if different from street address): [Mailing Address of Jomt Debtor (if different from street address):
ZIP Code ZIP Code -.
Location of Principal Assets of Business Debtor
(if different from street address above):
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box) the Petition is Filed (Check one box)
(Check one box) O Health Care Business ( Chapter 7
O Single Asset Real Estate as defined |} Chapter 9 (1 Chapter 15 Petition for Recognition

of a Foreign Main Proceeding

£1 Chapter 15 Petition for Recognition
of a Foreign Nonmain Proceeding

Wi Chapter 11
D Chapter 12
DJ Chapter 13

 

Nature of Debts
(Check one box)

{1 Debts are primarily consumer debts,
defined in 11 U.S.C, § 101(8) as
“incurred by an individual primarily for
@ personal, family, or household purpose.”

a Debts are primarily
business debts.

 

 

Filing Fee (Check one box)
BB Full Filing Fee attached

D0 Filing Fee to be paid in installments (applicable to individuals only). Must
attach signed application for the court's consideration certifying that the
debtor is unable to pay fee except in installments. Rule 1006(b). See Official
Form 3A.

D Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration, See Official Form 3B.

Cheek if:

 

Check one box: -
(1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
Wi Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Chapter 11 Debtors

£1 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,343,300 (amount subject to adjustment on 1/01/13 and every three years thereafter).
Check all applicable boxes:
C1 A plan is being filed with this petition.
C1 Acceptances of the plan were solicited prepetition from one oF more classes of creditors,
in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR COURT USE ONLY
WE Debtor estimates that funds will be available for distribution to unsecured creditors.
(J Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
” there will be no funds available for distribution to unsecured creditors,
Estimated Number of Creditors
an oO 0 QO Oo Oo 0
1- 50- 100- 200- 3,000- 5,001- 10,001- 25,003- 50,001- OVER
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
Oo a o oO oO 0
$010 $50,001 to $100,001 10 $500,00F $1,000,001 $10,000,001 $50,000,001 $10,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $I $0 $10 to $50 10 $100 to $500 to$1 billica $1 billion
. million million million million. million
Estimated Liabilities
oO QO D
$010 $50,001 10 $100,001 to $500,001 $1,000,003 $10,000,001 $80,000,001 $00,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to SI to $10 to $50 to $100 to $500 to SI billion $1 billion
million million million million million

 

 

 

 
Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Page2 of 7

 

 

 

 

 

 

 

 

 

 

 

 

B1 (Official Form 1)(4/10) Page 2
Voluntary Petition __ {Name of Debtor(s):
ry SVS Holdings, Inc.
(This page must be completed and filed in every case)
All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet) .
Location Case Number: Date Filed:
Where Filed: - None - ,
Location Case Number: Date Filed:
Where Filed: :
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
- None - ; :
District: Relationship: Judge:
Exhibit A - Exhibit B j
(To be completed if debtor is an individual whose debts are primarily consumer debts.)
(To be completed if debtor is required to file periodic reports (e.g., I, the attorney for the petitioner named in the foregoing petition, declare that!
forms 10K and 10Q) with the Securities and Exchange Commission have informed the petitioner that [he or she] may proceed under chapter 7, 11,
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 | 12, 0r 13 of title il, United Stes sot and have explained the relief available
; A ; ] under each such chapter. I further certify that I delivered to the debtor the notice
and is requesting relief under chapter 11.) required by 11 U.S.C. §342(b).
O Exhibit A is attached and made a part of this petition.
Signature of Attomey for Debtor(s) (Date)
Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
C1 Yes, and Exhibit C is attached and made a part of this petition.
Wi No.

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

0 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
(1 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box)
@ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

0) _ Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding fin a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
sought in this District,

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes)

() Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

Oo

 

 

(Name of tandlord that obtained judgment)

 

(Address of landlord)

6 Debior claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted fo cure
the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

0 _ Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
after the filing of the petition.
0 Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 

 
Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Page3 of 7

Bi (Official Form 1)(4/10)

Page 3

 

oye Name of Debtor(s):
Voluntary Petition SVS Holdings, Inc.
(This page must be completed and filed in every case) .
Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

If petitioner is an individual whose. debts are primarily consumer debis and
has chosen to file under chapter 7] J am aware that ] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
available under each such chapter, and choose fo proceed under chapter 7.
(If no attorney represents me and no bankruptcy petition preparer signs the
petition] ] have obtained and read the notice required by 11 U.S.C. §342(b).

 

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

 

Signature of Debtor

 

Signature of Joint Debtor

 

Telephone Number (If not represented by attorney)

 

Date A

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that ] am the foreign representative of a debtor in a foreign
proceeding, and that ] am authorized to file this petition.

(Check only one box.)
(1 J request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by 11 U.S.C. §1515 are attached.

O Pursuant to 11 U.S.C, §1511, 1 request relief in accordance with the chapter
of title 11 specified in this petition. A certified copy of the order granting
recognition of the foreign main proceeding is attached.

x

 

Signature of Foreign Representative -

 

Printed Name of Foreign Representative

 

Date
Signature of Non-Attorney Bankruptcy Petition Preparer

 

I declare under penalty of perjury that: (1) 1 am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for

 

Signature of Attomey for Debtor(s)

Kevin S, Neiman 36560.

Printed Name of Attorney for Debtor(s)
Horowitz & Burnett, P.C.

Firm Name
1660 Lincoln Street

Suite 1900
Denver, CO 80264

x

 

 

 

Address

Email: kneiman@hbiegal.net
(303) 996-8637 Fax: (303) 996-8636
Telephone Number

June 8, 2010
Date

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect,

compensation and have provided the debtor with a copy of this document
and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
pursuant to 1] U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice
of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required in that section.
Official Form 19 is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankrutpcy petition preparer is not
an individual, state the Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer.)(Required by 11 U.S.C. § 110.)

 

Address
xX

 

 

Date

 

Signature of Debtor (Corporation/Partnership)

1 declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition
on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United
States Code, specified in this petition.

xX Fen Asa

Signature of Authorized Individual
Kevin Hurst a
Printed Name of Authorized Individual
Chief Executive Officer
Title of Authorized Individual!

June 8, 2010
Date

 

Signature of Bankruptcy Petition Preparer or officer, principal, responsible
person,or partner whose Social Security number is provided above.

Names and Social-Secutity numbers of al] other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of
title 11 and the Federal Rules of Bankruptcy Procedure may result in
Jines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. $156.

 

 

 

 
Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Paged4 of 7

United States Bankruptcy Court
District of Colorado

Inre _SVS Holdings, Inc. - Case No.
Debtor(s) Chapter 11

 

VERIFICATION OF CREDITOR MATRIX

I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.

Kevin Hurst/Chief Executive Officer
Signer/Title

Date: June 8, 2010

 

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Case:10-24238-TBM Doc#:1 Filed:06/08/10

Internal Revenue Service
P.O. Box 21126
Philadelphia, PA 19114

Jack Blaine
717 17th St, Suite 310
Denver, CO 80202

Jeffrey P. Bialos

Sutherland Asbill & Brennan LLP
1275 Pennsylvania Avenue, NW
Washington, DC 20004

Lars Fuller

Baker & Hostetler LLP
303 East 17th Avenue
Suite 1100

Denver, CO 80203

Sequoia Voting Systems, Inc.
717 17th St, Suite 310
Denver, CO 80202

Smartmatic Corporation
1001 Broken Sound Parkway, Suite D
Boca Raton, FL 33487

Entered:06/08/10 13:27:09 Page5d of 7

 
Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Pageé of 7

B4 (Official Form 4) (12/07)

Inre _SVS Holdings, Inc.

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

United States Bankruptcy Court
‘District of Colorado

Debtor(s)

Case No.
Chapter 11

 

Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
persons who come within the definition of “insider” set forth in 1]. U.S.C. § 101, or (2) secured creditors unless the value of
the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See 11 U.S.C. § 112; Fed. R. Bankr, P, 1007(m).

 

(1)

Name of creditor and complete
mailing address including zip
code

(2)

Name, telephone number and complete
mailing address, including zip code, of
employee, agent, or department of creditor
familiar with claim who may be contacted

(3)

Nature of claim (trade
debt, bank loan,
government contract,
etc.)

(4)

Indicate if claim is
contingent,
unliquidated,
disputed, or subject
to setoff

(5)

Amount of claim [if
secured, also state
value of security]

 

 

 

 

1001 Broken Sound Parkway,
Suite D
Boca Raton, FL 33487

1001 Broken Sound Parkway, Suite D
Boca Raton, FL 33487

Internal Revenue Service Internal Revenue Service Unknown
P.O. Box 21126 P.O. Box 21126

Philadelphia, PA 19114 Philadelphia, PA 19114

Jack Blaine Jack Biaine 1,500,000.00
717 17th St, Suite 310 717 17th St, Suite 310

Denver, CO 80202 Denver, CO 80202

Sequoia Voting Systems, Inc. | Sequoia Voting Systems, Inc. 200,000.00
717 17th St, Suite 310 717 17th St, Suite 310

Denver, CO 80202 Denver, CO 80202

Smartmatic Corporation Smartmatic Corporation 8,000,000.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case:10-24238-TBM Doc#:1 Filed:06/08/10 Entered:06/08/10 13:27:09 Page? of 7

B4 (Official Form 4) (12/07) - Cont.
Inre SVS Holdings, Inc. Case No.

 

Debtor(s)

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

 

(Continuation Sheet)
(1) (2) (3) (4) (5)
Name of creditor and complete Name, telephone number and complete - Nature of claim (trade | Indicate if claim is Amount of claim [if
mailing address including zip mailing address, including zip code, of debt, bank loan, contingent, secured, also state
code employee, agent, or department of creditor | government contract, | unliquidated, value of security]
familiar with claim who may be contacted etc.) disputed, or subject

to setoff

 

 

 

 

 

 

 

 

 

 

 

 

DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing list and that it is true and correct to the best of my information and belief.

Date June 8, 2010 Signature Ly hue

Kevin Hurst
Chief Executive Officer

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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